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 Attorney for Wilmington Trust Company

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 In re:
                                                                   Chapter 11
 MOTORS LIQUIDATION COMPANY, et al.,                               Case No. 09-50026 (MG)
 f/k/a General Motors Corp., et al.,
 Debtors.                                                          (Jointly Administered)



              NOTICE OF APPEARANCE AND REQUEST FOR DOCUMENTS

          PLEASE TAKE NOTICE that the undersigned hereby appears in the above-captioned

 cases on behalf of Wilmington Trust Company (“WTC”), as trust administrator and trustee for

 the Motors Liquidation Company GUC Trust. Pursuant to Bankruptcy Rules 2002, 3017 and

 9007 and Sections 342 and 1109(b) of the Bankruptcy Code, Counsel requests that their name be

 added to the mailing list maintained by the Clerk in the above-captioned case, and that all notices

 given and all papers and pleadings served on any party, filed with the Court or delivered to the

 Office of the United States Trustee in the above-captioned case be given to and served upon

 Counsel, at the address set forth below:

                                       Jerilin Buzzetta
                                       Gibson, Dunn & Crutcher LLP
                                       200 Park Avenue
                                       New York, New York 10166
                                       Telephone: (212) 351-2492
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        PLEASE TAKE FURTHER NOTICE that this request includes all of the notices and

 papers referred to in the Bankruptcy Rules, Bankruptcy Code, and Local Bankruptcy Rules, and

 also includes, without limitation, notices of any orders, pleadings, motions, applications,

 complaints, or petitions, answering or reply papers, and memoranda and briefs in support of any

 of the foregoing and any other document brought before this Court with respect to these cases

 and any proceeding therein, whether formal or informal, whether written or oral, and whether

 transmitted or conveyed by mail, delivery, telephone, telegraph, telecopier, telex or otherwise.

        PLEASE TAKE FURTHER NOTICE that WTC intends that neither this Notice of

 Appearance nor any later appearance, pleading, claim, or suit shall waive: (1) WTC’s right to

 have final orders in noncore matters entered only after de novo review by a District Judge; (2)

 WTC’s right to trial by jury in any proceeding so triable in these cases or any case, controversy,

 or proceeding related to these cases; (3) WTC’s right to have the District Court withdraw the

 reference in any matter subject to mandatory or discretionary withdrawal; or (4) any other rights,

 claims, actions, defenses, setoffs, or recoupments to which WTC is or may be entitled under

 agreements, in law or in equity, all of which rights, claims, actions, defenses, setoffs, and

 recoupments WTC expressly reserves.




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 Dated: New York, New York
        November 28, 2017               Respectfully submitted,


                                        By:    /s/ Jerilin Buzzetta ___
                                                Jerilin Buzzetta

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                                        Attorney for Wilmington Trust Company,
                                        as Trustee for and Administrator of the
                                        Motors Liquidation Company General
                                        Unsecured Creditors Trust




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